
ROANE, Judge.*
The court is of opinion that according to the true construction of the 8th Sec. of the act concerning mills &amp;c., (d) it is as necessary on an application to raise a mill-dam previously erected, that the inquisition should respond to the requisitions of the law, in relation to the health of the neighbourhood, -the overflowing of mansion-houses, orchards &amp;c., and the obstruction of the passage of fish, and ordinary navigation, as it is in the case of an original application: and this not being done in the case before us, (which in event, might have deprived the County court of the power of going into the investigation of the merits,) the court is of opinion, that the said inquisition is defective, and the judgment founded thereupon, erroneous. On this ground, and not on that taken by the Superior court, on which we give no opinion, the judgment of that court quashing the inquisition, and reversing the proceedings up to the petition is affirmed.

(d) 2 Rev. Code, p. 228.


Cabbi.i, absent.

